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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


M.B.,
                                                         2:21-cv-04771
             Plaintiff
                                                         CIVIL ACTION – LAW
            v.

SPIRIT AIRLINES, INC., et al.,

             Defendants.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel, that the above-entitled action is hereby dismissed with prejudice and without attorneys’

fees and costs to either party.

VSCP LAW                                            CONDON & FORSYTH LLP

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